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4    Email:LawOffice.mbigelow@gmail.com
     Attorney for Defendant
5    Nicholas Ramirez

6                     IN THE UNITED STATES DISTRICT COURT
7                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,          )   Case No. Cr.S 11-190 MCE
                                        )
10               Plaintiff,             )   STIPULATION AND ORDER
                                        )   CONTINUING STATUS AND EXCLUDING
11         vs.                          )   TIME; ORDER
                                        )
12   NICHOLAS RAMIREZ,                  )
     TIFFANY BROWN                      )
13                                      )
                 Defendant              )
14                                      )

15
           IT IS HEREBY STIPULATED by and between Assistant United
16
     States Attorney Jason Hitt, Counsel for Plaintiff, and Attorney
17
     Dina L. Santos, Counsel for Defendant Tiffany Brown; Attorney
18

19   Michael Bigelow, Counsel for Defendant Nicholas Ramirez, that

20   the status conference scheduled for October 27, 2011 at 9:00 AM,

21   be vacated and the matter be continued to this Court's criminal

22   calendar on January 26 2012, at 9:00 a.m. for further status.

23   ///
24   ///
25
     ///



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1         This continuance is requested by the defense in order to
2    permit counsel to continue in negotiations with the prosecution
3
     in an effort to reach resolution and to prepare for defense of
4
     this case.
5
          IT IS FURTHER STIPULATED that time for trial under the
6
     Speedy Trial Act, 18 U.S.C. § 3161, et. seq. be tolled pursuant
7
     to § 3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare),
8
     and that the ends of justice served in granting the continuance
9
     and allowing the defendant further time to prepare outweigh the
10
     best interests of the public and the defendant in a speedy
11

12   trial. The Court is advised that all counsel have conferred

13   about this request, that they have agreed to the January 26,

14   2012 date, and that all counsel have authorized Mr. Bigelow to

15   sign this stipulation on their behalf.

16

17   IT IS SO STIPULATED
18
     /S/ JASON HITT
19
     Jason Hitt, Esq.,                            Dated: October 24, 2011
20   Assistant United States Attorney
     Attorney for Plaintiff
21

22
     /S/MICHAEL B. BIGELOW                        Dated: October 24, 2011
23   Michael B. Bigelow
     Attorney for Defendant
24   Nicholas Ramirez
25




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1    /S/DINA SANTOS                                                         Dated: October 24, 2011
     Dina Santos
2    Attorney for Defendant
     Tiffany Brown
3

4

5
                                                                ORDER
6

7                                   IT IS SO ORDERED

8    Dated:                            October 27, 2011

9                                                            __________________________________
                                                             MORRISON C. ENGLAND, JR
10                                                           UNITED STATES DISTRICT JUDGE
     DE AC _S ig na tu re -E ND :




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